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3
     Attorney for defendant,
4    Michael Ray Taylor, Jr.
5
                           UNITED STATES DISTRICT COURT
6
                   FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                             ) Case No. 2:12-CR-0375 KJM
     UNITED STATES OF AMERICA,                )
9                                             ) STIPULATION AND ORDER
                  Plaintiff,                  ) CONTINUING ARRAIGNMENT TO
10                                            ) NOVEMBER 30, 2012
           vs.                                )
11                                            )
     MICHAEL RAY TAYLOR, JR.,                 )
12                                            )
                  Defendant.                  )
13

14
           Counsel for defendant Michael Ray Taylor, Jr., Timothy E. Warriner, Esq.,
15
     and counsel for the government, Assistant U.S. Attorney Jared C. Dolan, hereby
16

17   stipulate and agree that the arraignment scheduled for November 26, 2012 at 2:00
18
     p.m. before the Honorable Kendall J. Newman, United States Magistrate Judge, be
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     continued to Friday, November 30, 2012 at 2:00 p.m. The parties agree that there
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21   is good cause for said continuance in that Mr. Taylor, Jr. will be driving with his
22   father (a named co-defendant) to the already scheduled arraignment this Friday.
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             Case 2:12-cr-00375-TLN Document 32 Filed 11/27/12 Page 2 of 2



1
     DATED: November 26, 2012                    /s/ Tim Warriner, Attorney for
                                                 Defendant, Michael Taylor, Jr.
2
     DATED: November 26, 2012                    /s/ Jared C. Dolan, Assistant
3
                                                 U.S.Attorney
4

5

6
                                      ORDER
7

8          GOOD CAUSE APPEARING, and pursuant to the stipulation of the parties,
9
     it is hereby ordered that the arraignment scheduled for November 26, 2012 be
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     continued to November 30, 2012 at 2:00 p.m.
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13
     Date: 11/26/2012
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                                          _____________________________________
15                                        KENDALL J. NEWMAN
                                          UNITED STATES MAGISTRATE JUDGE
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